                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                               HARRISONBURG DIVISION

 ALFRED N. SINK, JR.,                       )
            Plaintiff,                      )
 v.                                         )   Civil Action No. 5:17-cv-00015
                                            )
 EUDLOGI RODRIGUEZ, et al.,                 )   By: Elizabeth K. Dillon
          Defendants.                       )       United States District Judge


                           FINAL JURY INSTRUCTIONS


                            JURY INSTRUCTION NO. 1


       Members of the jury, now that you have heard the evidence, it is my duty to

 give you the instructions as to the law applicable to this case. The lawyers will

 then have the opportunity to present their closing arguments.

       These instructions are roughly divided into three parts. First, I will talk with

 you about some general principles of the law. Second, I will discuss with you

 instructions that apply to the claims in this case and the defenses to those claims.

 Third, after you hear closing arguments, I will have some remarks about your

 deliberations in this matter. In these instructions, I may refer to the plaintiff as Mr.

 Sink, and the individual defendant as Mr. Rodriguez. I may also refer to the

 defendant Russell Transport, Inc. as Russell Transport. Let me begin with some

 general principles.




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                           JURY INSTRUCTION NO. 2


       The instructions that I gave you at the beginning of the trial and during the

 trial remain in effect. You must, of course, continue to follow my earlier

 instructions as well as those that I give you now. You must not single out some

 instructions and ignore others, but must consider the instructions as a whole. I will

 send a copy of these instructions with you for your deliberations.

       It is your duty as jurors to determine from the evidence what the facts are.

 You will then apply the law as I explain it to you to those facts. You must follow

 my instructions on the law even if you believe the law is different or should be

 different. Do not allow sympathy, bias, or prejudice to influence you. The law

 demands of you a just verdict, unaffected by anything except the evidence, your

 common sense, and the law as I give it to you. The parties, the public, and the court

 expect that you will carefully and impartially consider all the evidence in the case,

 follow the law as stated by the court, and reach a just verdict regardless of the

 consequence.

       Nothing I say in these instructions is to be taken as an indication that I have

 any opinion about the facts of the case or what that opinion is. Likewise, the

 actions which I have taken during the trial in ruling on motions or objections, in

 comments to the lawyers, or in questions to the witnesses, are not to be taken by

 you of any indication by me as to how you should decide the facts. Even if you


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 think I have an opinion as to the facts, you should entirely disregard it. It is not my

 function to determine the facts. Instead, you are the sole judges of fact in the case.




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                           JURY INSTRUCTION NO. 3


       Because this is a civil case and Mr. Sink is the party that brought the lawsuit,

 Mr. Sink has the burden of proving his claims by the greater weight of the

 evidence, also known as the preponderance of the evidence.

       To prove something by the preponderance of the evidence is to prove that it

 is more likely true than not true. It is determined by considering all of the evidence

 and deciding which evidence is more believable. In other words, a preponderance

 of the evidence just means the amount of evidence that persuades you that a fact is

 more likely so than not so. The weight does not necessarily depend upon the

 number of witnesses who testify. The testimony of one witness whom you believe

 can be the greater weight of the evidence.

       In determining whether any fact has been proven by a preponderance of the

 evidence in the case, you may, unless otherwise instructed, consider the testimony

 of all witnesses, regardless of who may have called them, and all exhibits received

 into evidence, regardless of who may have produced them.




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                           JURY INSTRUCTION NO. 4


       As I told you when the trial began, certain things are not evidence, and I

 want to list those things for you again. The following statements and utterances

 made during this trial are not evidence and should not be considered by you:

       1.     Statements, arguments, and questions by lawyers. These are not

              evidence.

       2.     Objections to questions are not evidence.

       3.     Testimony and exhibits that the court has excluded or told you to

              disregard are not evidence.

       The things I have just listed are not evidence. The evidence in the case

 consists of the testimony of the witnesses, any and all exhibits which have been

 received into evidence, and all facts which have been either admitted or stipulated.

       Also, some testimony and exhibits have been received only for a limited

 purpose. Where I have told you that you can consider a piece of evidence for a

 limited purpose only, and not for any other purpose, you should consider that

 evidence only for the limited purpose.




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                           JURY INSTRUCTION NO. 5


       Evidence may be direct or circumstantial. Direct evidence is testimony by a

 witness about what that witness personally saw or heard or did. Circumstantial

 evidence is indirect evidence. That is, it is proof of one or more facts from which

 one can find another fact. You are to consider both direct and circumstantial

 evidence. The law permits you to give equal weight to both, but it is for you to

 decide how much weight to give to any evidence.

       Any fact that may be proved by direct evidence may be proved by

 circumstantial evidence; that is, you may draw all reasonable and legitimate

 inferences and deductions from the evidence.




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                           JURY INSTRUCTION NO. 6



       The evidence in the case before you has consisted in part of testimony from

 witnesses. You may believe all of what a witness said, or only part of it, or none of

 it. You are the sole judges of the credibility of the witnesses and the weight of the

 evidence.

       You are not bound to decide any issue of fact in accordance with the

 testimony of witnesses which does not produce in your minds belief in the

 likelihood of truth. The test is not which side brings the greater number of

 witnesses, or presents the greater quantity of evidence; but which witnesses, and

 which evidence, you believe are the most accurate, and otherwise trustworthy. The

 testimony of a single witness may be sufficient to prove any fact, even if a greater

 number of witnesses may have testified to the contrary, if, after considering all the

 other evidence, you believe that single witness.

       In considering the evidence, you are not limited to the bald statements of the

 witnesses. In other words, you are not limited solely to what you see and hear as

 the witnesses testify. On the contrary, you are permitted to draw from the facts

 which you find to have been proven such reasonable inferences as may seem

 justified in the light of your own experience.




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       In determining the credibility of any given witness, you should carefully

 scrutinize all the testimony given, the circumstances under which each witness

 testified, and every matter in evidence which tends to show whether a witness is

 worthy of belief. You may consider each witness’ intelligence, motive, state of

 mind, demeanor, and manner while on the stand. You may consider the witness’

 ability to observe the matters as to which he or she has testified and whether the

 witness impresses you as having an accurate recollection of these matters. You

 may also consider his or her interest in the outcome of the case, and any bias or

 prejudice, and the extent to which, if any at all, each witness is either supported or

 contradicted by other evidence in the case. In evaluating credibility, you may call

 upon your own experience and background in your every day affairs in

 determining the reliability or unreliability of statements made by others.

       In considering the testimony of witnesses, you should ask yourself whether

 there was evidence tending to prove that the witness testified falsely concerning

 some important fact; or whether there was evidence that at some other time the

 witness said or did something, or failed to say or do something, which was

 different from the testimony the witness gave during the trial.

       You should keep in mind, of course, that a simple mistake by a witness does

 not necessarily mean that the witness was not telling the truth as the witness

 remembers it, because people naturally tend to forget some things or remember




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 other things inaccurately. So, if a witness has made a misstatement, you need to

 consider whether that misstatement was simply an innocent lapse of memory or an

 intentional falsehood; and the significance of that may depend on whether it has to

 do with an important factor or with only an unimportant detail.




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                             JURY INSTRUCTION NO. 7


        You have heard from a person described as an expert. Under the law, a

  person who, by knowledge, skill, training, education, or experience, has become

  expert in some field may state his or her opinions on matters in that field and may

  also state the reasons for his or her opinion.

        Expert testimony should be considered just like any other testimony. You

  may accept or reject it, and give it as much weight as you think it deserves,

  considering the witness’s education and experience, the soundness of the reasons

  given for the opinion, the acceptability of the methods used, and all other evidence

  in the case.

        Merely because an expert witness has expressed an opinion does not mean

  that you must accept that opinion. The same as with any other witness, it is up to

  you to decide whether to rely upon it.




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                             JURY INSTRUCTION NO. 8



        In determining the credibility of any witness, you also may consider whether

  a witness has previously made statements that are inconsistent with his or her

  testimony here in court. It is for you to decide whether a witness made a statement

  on an earlier occasion and whether it was, in fact, inconsistent with his or her

  testimony here in court.

        If a witness at trial has been confronted with a prior statement which that

  witness made and that was unsworn—that is, not under oath—and that prior

  statement is inconsistent with his or her testimony here in court, then you may

  consider the prior statement when you assess the truthfulness of the testimony the

  witness gave in court.

        If the witness made the prior inconsistent statement under oath and subject

  to cross examination or if it was made at a deposition, then you may also treat the

  prior statement as evidence in this case. That is, you may treat what was said in

  that prior sworn testimony as true.

        Again, in considering any prior inconsistent statement, you should consider

  whether it was simply an innocent error or an intentional falsehood and whether it

  concerns an important factor or an unimportant detail.




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                           JURY INSTRUCTION NO. 9



        During the trial, proof that a witness has been convicted of felonies was

  admitted. The only purpose for which that evidence was admitted was its effect on

  his credibility as a witness. You may consider that evidence, together with other

  pertinent evidence, in deciding how much weight to give that witness’s testimony.

        You may not consider felony convictions as proof of any other issue in this

  lawsuit.




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                            JURY INSTRUCTION NO. 10



        A deposition is a witness’s sworn testimony that is taken before the trial.

  During a deposition, the witness is under oath and swears to tell the truth, and the

  lawyers for each party may ask questions. A court reporter is present and records

  the questions and answers.

        You have heard the testimony of several individuals by deposition.

  Deposition testimony is entitled to the same consideration as live testimony, and

  you must judge it in the same way as if the witness was testifying in court.




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                           JURY INSTRUCTION NO. 11



        Certain charts and summaries have been shown to you to illustrate

  information brought out in the trial. Charts and summaries are only as good as the

  underlying evidence that supports them. You should, therefore, give them only

  such weight as you think the underlying evidence deserves.




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                            JURY INSTRUCTION NO. 12



        Your verdict must be based on the facts as you find them and on the law

  contained in all of these instructions.


  The issues in this case are:

  (1)     Was the defendant Mr. Rodriguez negligent?

  (2)      If he was negligent, was his negligence a proximate cause of the

  accident?

  (3)         If Mr. Sink is entitled to recover, what is the amount of his damages?




  Your decision on these issues must be governed by the instructions that follow.




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                           JURY INSTRUCTION NO. 13


        Your verdict shall be for Mr. Sink if Mr. Sink proved by the greater weight

  of the evidence that:

        1. Mr. Rodriguez was negligent; and that

        2. Mr. Rodriguez’s negligence was a proximate cause of the accident and

  Mr. Sink’s damages.

        Your verdict shall be for the defendants if Mr. Sink failed to prove either or

  both of the two elements above.




   




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                           JURY INSTRUCTION NO. 14


        Negligence is the failure to use ordinary care. Ordinary care is the care a

  reasonable person would have used under the circumstances of this case.




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                           JURY INSTRUCTION NO. 15


        Mr. Sink has the burden of proving by the greater weight of the evidence

  that Mr. Rodriguez was negligent and that Mr. Rodriguez’s negligence proximately

  caused the accident and any of the injuries to Mr. Sink.




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                             JURY INSTRUCTION NO. 16



        The fact that there was an accident and that Mr. Sink was injured does not,

  of itself, entitle Mr. Sink to recover.




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                            JURY INSTRUCTION NO. 17



        The driver of a vehicle has a duty to use ordinary care:

        1.      to keep a proper lookout;

        2.      to keep his vehicle under proper control; and

        3.      to operate his vehicle at a reasonable speed under the existing

  conditions.

        If a driver fails to perform any one or more of these duties, then he is

  negligent.




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                            JURY INSTRUCTION NO. 18



        The duty to keep a proper lookout requires a driver to use ordinary care to

  look in all directions for vehicles that would affect his driving, to see what a

  reasonable person would have seen, and to react as a reasonable person would have

  acted to avoid a collision under the circumstances.




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                            JURY INSTRUCTION NO. 19


        The driver of a vehicle has a right to assume that the driver of another

  vehicle will operate it in a lawful manner until he realizes, or in the exercise of

  ordinary care should realize, that the other driver is not going to do so.




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                          JURY INSTRUCTION NO. 20


        The driver of a vehicle has a duty to drive as nearly as practicable within

  a single lane and not to move from that lane until he has used ordinary care to

  see that the movement can be made with safety.

        If a driver fails to perform this duty, then he is negligent.




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                          JURY INSTRUCTION NO. 21



        The driver of a vehicle passing another vehicle proceeding in the same

  direction has a duty to pass at least two feet to the left of that vehicle and

  not to return again to the right side of the highway until he can do so safely.

        If a driver fails to perform this duty, then he is negligent.




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                           JURY INSTRUCTION NO. 22



        A proximate cause of an accident, injury, or damage is a cause which in

  natural and continuous sequence produces the accident, injury, or damage. It is a

  cause without which the accident, injury, or damage would not have occurred.




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                          JURY INSTRUCTION NO. 23



         In this case, the parties agree that Mr. Rodriguez was employed by

  Russell Transport, Inc. and that he was acting within the scope of his

  employment at the time of the alleged accident. Thus, if you find in favor of

  plaintiff, the verdict shall be against both Mr. Rodriguez and Russell Transport,

  Inc.




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                           JURY INSTRUCTION NO. 24



        If your verdict is for the plaintiff, Mr. Sink, then in determining the

  damages to which he is entitled, you shall consider any of the following which

  you believe by the greater weight of the evidence was caused by the negligence of

  Mr. Rodriguez:

            1. any bodily injuries he sustained and their effect on his health

  according to their degree and probable duration;

            2. any physical pain and mental anguish he suffered in the past and any

  he may reasonably be expected to suffer in the future;

            3. any inconvenience incurred in the past;

            4. any medical expenses incurred in the past; and

            5. any lost wages or lost income incurred in the past.

        Your verdict shall be for such sum as will fully and fairly compensate Mr.

  Sink for the damages sustained as a result of Mr. Rodriguez’s negligence.




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                           JURY INSTRUCTION NO. 25



        The burden is on Mr. Sink to prove by the greater weight of the evidence

  each item of damage he claims and to prove that each item was caused by Mr.

  Rodriguez’s negligence. He is not required to prove the exact amount of his

  damages, but he must show sufficient facts and circumstances to permit you to

  make a reasonable estimate of each item. If the plaintiff fails to do so, then he

  cannot recover for that item.




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                           JURY INSTRUCTION NO. 26



        The presence or absence of insurance or benefits of any type, whether liability

  insurance, health insurance, or employment-related benefits for either the plaintiff

  or the defendants, is not to be considered by you in any way in deciding the issue of

  liability or, if you find your verdict for the plaintiff, in considering the issue of

  damages.

        The existence or lack of insurance or benefits shall not enter into your

  discussions or deliberations in any way in deciding the issues in this case. You

  shall decide this case solely on the basis of the testimony and evidence presented

  in the courtroom, as well as the instructions given to you by the court.




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                           JURY INSTRUCTION NO. 27



        The plaintiff Mr. Sink has a duty to minimize his damages. If you find that

  Mr. Sink did not act reasonably to minimize his damages and that, as a result, they

  increased, then he cannot recover the amount by which they increased.




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                            JURY INSTRUCTION NO. 28



        If you find that Mr. Sink had a condition before the accident that was

  aggravated as a result of the accident or that the pre-existing condition made the

  injury the plaintiff received in the accident more severe or more difficult to treat,

  then if you find your verdict for Mr. Sink, he may recover for the aggravation and

  for the increased severity or difficulty of treatment, but he is not entitled to recover

  for the pre-existing condition.




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                          JURY INSTRUCTION NO. 29



        If you render your verdict in favor of Mr. Sink, you may award interest on

  the principal sum awarded, or on any part of the principal sum awarded, and you

  may fix the date at which the interest shall commence (any date from the date of

  this accident—July 17, 2015—to the date of your verdict).




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                           JURY INSTRUCTION NO. 30



        You should not consider the fact that I have instructed you about the

  measure of damages as suggesting any view of mine as to which party should

  receive your verdict. Instructions about damages are given for your guidance, in

  the event you should find in favor of Mr. Sink.

        You are instructed that the question of damages is entirely separate and

  different from the question of liability. You should not consider the question of

  whether or not Mr. Sink has been damaged until you have first considered and

  decided the question of whether or not the defendants are liable.




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                             JURY INSTRUCTION NO. 31

        In a few moments, I will finish these instructions and then the attorneys will

  have the opportunity to present their closing arguments. Then, it will be time for

  you to retire to the jury room to begin your deliberations. I will instruct you after

  closing arguments as to how you should conduct those deliberations.

        For now, I want each of you to see a copy of the verdict form that you will

  be asked to complete together. As you see, the verdict form contains three

  questions. In the first question, you will state that your verdict is either for the

  plaintiff, Mr. Sink, or for the defendants. If your verdict is for the defendants, you

  do not answer questions 2 or 3. You will just have your foreperson sign and date

  the form and let the court security officer know that you have reached a verdict. If

  your verdict is for the plaintiff, then you will also need to answer questions 2 and

  3. Question 2 asks you for a dollar amount of plaintiff’s damages. Question 3 asks

  whether you want to award interest. The first level of the question has two check

  boxes and you should only check one. If you check the box that says you are

  awarding interest, then you must also specify the date that the interest is to begin.

  Also, if you check the box that says you are awarding interest, you must also check

  one of the remaining two boxes to show either that you award interest on the entire

  amount of damages awarded, or that you award it only on a part of the damages.




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        I would ask you now to hand in your verdict forms and you will get a single

  official copy at the conclusion of all of the case.

        I have given you your instructions as to the law, and we are now ready for

  the closing arguments. I would ask each of you to give your attention to the

  attorneys as they give their closing arguments. After the closing arguments, we

  will give you one official verdict form before you begin your deliberations.

        As I have instructed you, this is a civil action and the burden is on the

  plaintiff in a civil action to prove the case by a preponderance of the evidence, by

  the greater weight of the evidence.

        Since the burden of proof is on the plaintiff, under our legal system, the

  plaintiff will have the right to open and close the arguments. So, you will first

  listen to counsel for Mr. Sink, then you will listen to counsel for defendants, and

  then since the burden of proof is on Mr. Sink, Mr. Sink’s attorney will have the

  right to present the final closing argument.

        As I told you at the very beginning of this trial and again in instructing you

  on the law, neither the opening statements nor the closing arguments are evidence

  in the case, and must not be considered by you as such. The closing arguments

  will be made now to assist you in evaluating the evidence and applying the law.




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                            JURY INSTRUCTION NO. 32

        You have now heard closing arguments and you will soon return to the jury

  room to deliberate. There are certain rules you must follow in conducting your

  deliberations and in returning your verdict.

        First, when you go to the jury room, you will select one person to act as your

  foreperson. The foreperson will preside over your discussions and will be your

  spokesperson here in court.

        Second, it is your duty as jurors to discuss this case with one another in the

  jury room. You should try to reach agreement without sacrificing your individual

  judgment, because a verdict must be unanimous. Each of you must make your

  own conscientious decision, but only after you have considered all the evidence,

  discussed it fully with fellow jurors, and listened to the views of your fellow jurors.

        Do not be afraid to change your opinions if the discussion persuades you that

  you should. But do not come to a decision simply because other jurors think it is

  right, or simply to reach a verdict.

        Third, if you need to communicate with me during your deliberations, you

  may send a note to me through the court security officer, signed by one or more

  jurors. I will always first disclose to the attorneys your question and my response

  before I answer your question. I will respond as soon as possible either in writing

  or by having you return to the courtroom so that I can address you personally. You




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  should not tell anyone–including me or the court security officer–how your vote

  stands numerically, and any notes should not indicate how your vote stands

  numerically.

         Fourth, during your deliberations, you must not communicate with anyone

  else outside of the jury about the case. You must not use any electronic device,

  including cell phones, the Internet, a blog, website, other method to communicate

  about the case or conduct any research.

         Fifth, your verdict must be based solely on the evidence and on the law

  which I have given you in my instructions. The verdict must be unanimous, you

  must all agree. Nothing I have said or done is intended to suggest what your

  verdict should be – that is entirely for you to decide. If you wish to have any or all

  of the exhibits sent to you in the jury room, you should advise the court security

  officer.

         Finally, a verdict form has been prepared for your responses, as you will see.

  A verdict form is simply a written notice of a decision that you reach in this case.

  You will take this form to the jury room, and when each of you has agreed on the

  verdict, your foreperson will fill in the form, sign and date it, and advise the court

  security officer that you are ready to return to the courtroom. I tell you that in

  answering the questions on the verdict form, it is necessary that each of you agree

  as to the response. Your verdict as to each question must be unanimous.




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        If one of you needs to step out of the jury room for any reason, the

  deliberations must cease. Deliberations must take place while all jurors are

  present.

        Do not reveal your verdict until such time as you are discharged, unless

  otherwise directed by me.

        Once again, when you enter your jury room, your first responsibility will be

  to elect a foreperson. You will then begin your deliberations. Once you begin

  your deliberations, you should not have contact with any person other than the

  court security officer.

        If you recess during your deliberations, follow all of the instructions that the

  court has given you about your conduct during the trial.

        I will ask the court security officer now to deliver the official verdict form to

  the jury please. I will also provide you with a copy of the instructions I read to you

  earlier. If you would like to see any of the exhibits, you may request them by

  asking the court security officer.

        I am going to ask you to step outside of the courtroom for just a brief

  moment, but do not go yet all the way back into the jury room, so I can confer with

  counsel before we send you to deliberate.




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